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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case
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                                                                                                                   SEP 2;; 2020
                                         UNITED STATES DISTRICT COUR                                          '----··· .... . ----·-
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                                                                                                             CLEAi< US 1)18111,CT C JURT    1
                                              SOUTHERN DISTRICT OF CALIFORNIA                            SOUTHERN DIS fRICT GF C"Llf'ORNIA
                                                                                                         BY           j(,-         DEPUTY
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                    V.                                (For Offenses Committed On or After November I, 1987)

 GIOVANNA BRIGITTE MORATALLA-AGUILAR (1)                                 Case Number:         19CR4903-CAB

                                                                      FREDERICK M. CARROLL
                                                                      Defendant's Attorney
USM Number                          90128298

• -
THE DEFENDANT:
 [8J   pleaded guilty to count(s)          TWO (2) OF THE TWO-COUNT INFORMATION

 D  was found guilty on count(s)
    after a olea ofnot guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                          Nature of Offense                                                               Number(s)
21 USC 952, 960                          IMPORTATION OF METHAMPHETAMlNE                                                      2




    The defendant is sentenced as provided in pages 2 through                    2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D     The defendant has been found not guilty on count( s)

 [8J   Count(s)    ONE (1) OF THE INFORMATION                    is           dismissed on the motion of the United States.

       Assessment: $100.00 - WAIVED
 [8J

 D     JVTA Assessment*: $
       *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 lZI   No fine                  •        Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                      HON. Cathy Ann Bencivenga
                                                                      UNITED STATES DISTRICT JUDGE
.;                Case 3:19-cr-04903-CAB Document 34 Filed 09/25/20 PageID.73 Page 2 of 2

     AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

     DEFENDANT:                  GIOVANNA BRIGITTE MORATALLA-AGUILAR (!)                                Judgment - Page 2 of2
     CASE NUMBER:                19CR4903-CAB

                                                       IMPRISONMENT
      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
      TIME SERVED (324 DAYS).




      •       Sentence imposed pursuant to Title 8 USC Section 1326(b).
      •       The court makes the following recommendations to the Bureau of Prisons:




          •   The defendant is remanded to the custody of the United States Marshal.

          •   The defendant must surrender to the United States Marshal for this district:
              •     at _ _ _ _ _ _ _ _ A.M.                         on
              •     as notified by the United States Marshal.

              The defendant must surrender for service of sentence at the institution designated by the Bureau of
          •   Prisons:
              •     on or before
              •     as notified by the United States Marshal.
              •     as notified by the Probation or Pretrial Services Office.

                                                             RETURN

      I have executed this judgment as follows:

              Defendant delivered on                                            to
                                       -------------                                 ---------------
      at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                         UNITED STATES MARSHAL



                                           By                    DEPUTY UNITED STATES MARSHAL
     II


                                                                                                             19CR4903-CAB
